               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:17 CR 46-2


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
JORDAN HEATH OOCUMMA,                        )
                                             )
                 Defendant.                  )
____________________________________         )


       THIS CAUSE coming on to be heard before the undersigned pursuant to a

Violation Report (#62) filed by the United States Probation Office alleging that

Defendant had violated terms and conditions of his pretrial release. At the call of

this matter on for hearing, it appeared that Defendant was present with his counsel,

Rich Cassady, and the Government was present through AUSA Chris Hess. From

the evidence offered and from the statements of the Assistant United States Attorney

and the attorney for the Defendant, and the records in this cause, the Court makes

the following findings.

       Findings: At the call of this matter, Defendant, by and through his attorney,

admitted the allegations contained in the Violation Report.

       Defendant was charged in a bill of indictment (#1) with conspiracy to traffic

in methamphetamine, in violation of 21 U.S.C. § 846 and distribution of


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      Case 1:17-cr-00046-MR-WCM     Document 65     Filed 08/25/17   Page 1 of 4
methamphetamine, in violation of 21 U.S.C. § 841. A hearing was held in regard to

the detention of Defendant on April 18, 2017 and at that time the undersigned entered

an Order releasing the Defendant on a $25,000 unsecured bond (#15).                     The

undersigned further set conditions of release which included the following:

         (1)   The defendant must not violate any federal, state or local law while on

               release.

         (8)(p) Defendant is to refrain from use or unlawful possession of a narcotic

               drug or other controlled substances defined in 21 U.S.C. § 802, unless

               prescribed by a licensed medical practitioner.

         On July 20, 2017 Defendant submitted to an urinalysis drug test at which time

Defendant tested positive for the use of marijuana.

         Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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         (1)    finds that there is----
                (A) probable cause to believe that the person has committed a
         Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
          other condition of release; and
         (2) finds that ---
                (A) based on the factors set forth in section 3142(g) of this title, there
         is no condition or combination of conditions of release that will assure that
         the person will not flee or pose a danger to the safety of any other person or
         the community; or

                                             2



        Case 1:17-cr-00046-MR-WCM       Document 65     Filed 08/25/17    Page 2 of 4
            (B) the person is unlikely to abide by any condition or combination
      of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”

      Based upon the evidence, the undersigned finds there is probable cause to

believe Defendant committed a federal or state crime while on release. Defendant

tested positive for the use of marijuana. The consumption and use of marijuana is a

misdemeanor under federal law. 21 U.S.C. § 844. The use of marijuana is a

misdemeanor under state law. N.C.G.S. § 90-95.

      There has been shown by clear and convincing evidence that Defendant

violated the condition of release that required that he refrain from use or unlawful

possession of a narcotic drug defined in 21 U.S.C. § 802. Marijuana is not a drug

that is prescribed by a licensed medical practitioner.

      Due to the findings made above, it is the opinion of the undersigned that based

upon Defendant’s actions, it is unlikely that Defendant will abide by any condition

or combination of conditions of release. As a result of the above referenced findings,

the undersigned has determined to enter an order revoking the unsecured bond and

the terms of pretrial release previously issued in this matter and entering an order

detaining Defendant. This period of incarceration shall be for a period of up to and


                                          3



    Case 1:17-cr-00046-MR-WCM        Document 65     Filed 08/25/17   Page 3 of 4
including September 20, 2017. At that time, the undersigned will conduct further

proceedings in regard to the issue of whether or not Defendant shall be detained or

shall be allowed to again be released on terms and conditions of pretrial release.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and the terms

and conditions of release are hereby REVOKED and it is ORDERED that

Defendant be detained until September 20, 2017. At that time further proceedings

shall be scheduled to determine if defendant should be released or detained.



                                          Signed: August 25, 2017




                                          4



    Case 1:17-cr-00046-MR-WCM        Document 65       Filed 08/25/17   Page 4 of 4
